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Case 2:18-Cv-OO445-WBS-AC Document 15 Filed 05/07/18 Page 1 of 8

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Attorneys for Defendant,
LOWE’S HOME CENTERS, LLC

 

UNTI`ED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA

PAUL SINGH and ANDREA SINGH, Case No. 2:18-cv-00445-WBS-AC

Assigned to the Hon. William B. Shubb

Plaintiffs, Sutter County Su erior Court; Case No..'

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VCS 1 7-000186
REPLY TO PLAINTIFFS’

LOWE’S HOME CENTERS, LLC, OPPOSITION TO DEFENDANT
and DOES 1 to 50, Inclusive, LOWE’S HOME CENTERS, LLC’S

MOTION TO DISMISS PURSUANT TO

Defendams. F.R.C.P. 12(b)(6)

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Courtroom:

 

 

 

 

COMES NOW Defendant, Lowe’s Home Centers, LLC, and hereby submits the
following Reply to Plaintiffs’ Opposition to Defendant’s Motion to Dismiss Pursuant

to Federal Rules of Civil Procedure Rule 12(b)(6), or, in the altemative, Motion for a

Ma 14, 2018
15:3 p.m.
U.S. District Court
501 I Street, 14th Floor
Sacramento, CA 95814

More Defmite Staternent pursuant to Federal Rules of Civil Procedure 12(e).

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REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT 'I`O F.R.C.P. 12(B)(6)

 

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MEMORA_NDUM OF POINTS AND AUTHORITIES
I. INTRODUCTION

Plaintiffs’ Opposition does nothing more than provide the Court With a
recitation of the Federal Rules of Civil Procedure, Rule 8, without addressing any of
the patent defects in Plaintiffs’ First Amended Complaint (hereinafter “FAC” or
“operative Complain ”), raised by Defendant’s Motion. The Opposition fails to
apprise the Court and Defendant of Whether the factual allegations in the operative
Complaint rise to the requisite heightened pleading standard, so as to be sufficient to
state any claims upon which relief can be granted.

Regardless of the heightened pleading standard in Federal court, Plaintiffs do
not even meet the lower, state pleading standard First, Plaintiffs fail to sufficiently
allege any conduct or exposure resulting in harm. Second, Plaintiffs fail to sufficiently
allege causation. Given that conduct causing actual harm is an element of every tort
alleged in Plaintiffs’ Complaint, all of Plaintiffs’ claims fail because they do not state
a prima facie case for any causes of action.

As such, pursuant to Fed. R. Civ. Proc. 12(b)(6), Defendant respectfully
requests this Court dismiss Plaintiffs’ First Amended Complaint in its entirety because
it fails to state a claim upon Which relief can be granted for insufficient factual
allegations Alternatively, Defendant moves for a more definite statement pursuant to
Fed. R. Civ. Proc. 12(e) for Plaintiffs to clarify their claims so that Defendant may

reasonably respond.

II. THE OPERATIVE COMPLAINT FAILS TO STATE ANY FACTB`_§ES

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As this Court is aware, under the heightened federal pleading standard, a
plaintiff is obligated to provide more than merely “labels and conclusions” or a
“formulaic recitation of the elements.” Ashcrof`t v. Igbal, 556 U.S. 662, 678 (2009)
(quoting Bell Atlantic Corp. V. Twomblv, 550 U.S. 544,-555 (2007)); §e_e Williston

Basin Interstate Pipeline Co. v. Exclusive Gas Storage Leasehold & Easement in the

_ 2 _
REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(Bif6i

 

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Cloverlv Subterranean Geolo@al Formation, 524 F.3d 1090, 1096 (9th Cir. 2008)
(citing Twombly). The complaint must allege sufficient facts to “state a claim to relief
that is plausible on its face.” I_q@, 556 U.S. at 678 (emphasis added). Factual
allegations must be enough to raise a right to relief that rises above a “speculative
level.” Twombly, 550 U.S. at 555. Courts are not bound to accept as true “a legal
conclusion couched as a factual allegation,” but may disregard conclusory allegations
and unreasonable inferences qu_al, 556 U.S. at 678; see hansnhase Svs. v. Southern
Cal. Edison Co., 839 F. Supp. 711, 718 (C.D. Cal. 1993).

A. The Operative Complaint Fail_s as the Factual Allegations
Are Merely Couched Conclusions

Defendant has pointed out in its Motion the salient factual allegations upon
which Plaintiffs build their causes of action. Even the strongest factual allegations
plead in support of Plaintiffs’ causes of action fail to sufficiently support any of the
negligence-based causes of action. Plaintiffs allege that “Plaintiff`Paul did suggest the
[e]mployee seek assistance,” FAC at 1[ 3. Plaintiffs allege that “[e]mployee refused
and began loading the concrete mix in such a manner as to cause the bags to burst and
spew concrete dust all over the interior of Plaintiff’s vehicle and Plaintiffs.” I_d.
Plaintiffs further allege that Plaintiff Andrea “tried to stop the [e]mployee, but
[e]mployee continued to load until all of the concrete mix had been loaded.” I_dz These
factual allegations fail to plead any unreasonable action or conduct on the part of
Lowe’s going to duty or breach.

Plaintiffs then allege “exposure to the concrete dust.” FAC at 11 5. Simply
pleading an “exposure” does not allege that Plaintiffs Were exposed to any harmful
conduct or substance. Such a factually devoid and conclusory allegation cannot
support an inference that harm was caused by any contact or conduct. Given that
Plaintiffs have failed to allege facts showing causation and harm, Plaintiffs’ claims

fail.

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REPLY TO PLAIN'I`IFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(B)16)

 

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Furthermore, for the reasons articulated above, Plaintiffs’ causes of action for
vicarious liability, and negligent supervision, instruction, and training fail to plead
facts sufficient to support claims for relief which are plausible on their face. Plaintiffs’
entire FAC fails to state any claims upon which relief can be granted against Defendant
Lowe’s, and the entire FAC is also uncertain as against Lowe’s, Therefore, Lowe’s

respectfully requests that this Court dismiss Plaintiffs’ FAC in its entirety.

B. The Operative Complaint Fails to State Facts Supporting a Punitive
Damages Claim _

As cited in the Defendant’s moving papers, California Civil Code section
3294(a) establishes the standard a plaintiff must meet to recover for punitive damages:
“where it is proven by clear and convincing evidence that the defendant has been guilty
of oppression, fraud, or malice, the plaintiff, in addition to the actual damages, may
recover damages for the sake of example and by way of punishing the defendant.”

Calif`ornia Civil Code section 3294(b) expressly states that to hold an employer
(i.e., Lowe’s) liable for exemplary or punitive damages, the malice, fraud, or
oppression must be authorized (in advance), ratified (after the. fact), or actually
engaged in by someone who is an “officer, director, or managing agent.” In other
words, Lowe’s can never be liable in punitive damages for the tortious acts of a store
level employee unless it directed the employee to engage in the intentionally tortious
act, or it ratified the conduct after the fact. Here, there are no such allegations to hold
Lowe’s liable for exemplary damages

Moreover, under section 3294 in actions for breach of an obligation not arising
from contract, the alleged malice or oppression may be shown by a “conscious
disregard” of the safety of others; that is to say, the plaintiff must establish that the
defendant Was (1) aware of the probable dangerous consequences of his conduct, and
(2) that he willfully and deliberately failed to avoid those consequences Taylor v.

Sunerior Court of Los Angeles Countv, 24 Cal. 3d 890, 895 (1979). As the court stated

_ 4 _
REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(B)(6)

 

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in _'l_`_ayl_or, “ordinarily, routine negligent or even reckless disobedience of traffic laws
Would not justify an award of punitive damages.” ld_., at 899~900; s_eea_lso G.D. Searle
& Co. v. Superior Court, 49 Cal.App.3d 22, 32 (1975).

Plaintiffs’ factual allegations do not pass the Mr test. There are no factual
allegations pled anywhere in the operative Complaint that describe conduct which
rises to the level of willful, conscious disregard for any probable dangerous
consequences The facts alleged in Plaintiffs’ FAC are insufficient to show the level
of “malice” or “conscious disregard” as contemplated by Civil Code § 3294 against
the “Defendant Employee.” Thus Plaintiffs’ FAC cannot support punitive damages

claims, and Plaintiffs’ punitive damages claim fails on the face of the Complaint.

III. THIS COURT SHOULD DISMISS THE COMPLAINT WITHOUT
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Plaintiffs’ factual allegations fail to support the causes of action in the FAC, and
Plaintiffs make substantially the same factual allegations in order to support the same
causes of action in the Proposed Second Amended Complaint (hereinafter “SAC”).
Plaintiffs’ causes of action fail, given the factual allegation upon which this action
turns: An employee loaded bags of concrete mix in a “manner as to cause the bags to
burst and spew concrete dust all over the interior of Plaintiffs’ vehicle.” Moreover,
Plaintiffs fail to sufficiently state allegations supporting “exposure” and causation, for
any alleged harm, i.e., “coughing and sneezing.”' Proposed SAC at 1[ 9. Plaintiffs
cannot state a prima facie case for any of their causes of action, whether intentional or

negligent Therefore, Plaintiffs’ Second Amended Complaint Would still be subject to

 

' The o erative Con_i laint and the Proposed SAC states that “Plaintiff Paul vi_sited
his hea_ th care prov1 er complaining of chest pain, shortness of breath, cramping
from h_is chest to his left arm, and continued coughin and sneezing: . . .” EAC at 1[
5. Plaintiffs fail to allege that these Were actual mani estations of injury Which
Plaintiff Paul experienced as a result of any “exposure.”
- 5 _
REPLY To PLArNTiFFs’ oPPosiTIoN To DEFENDANT Lowe’s HOME CENTERS, LLc’s
MOTION To DISMISS PURSUANT To F.R.C.P. iz(Bi(6>

 

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a further motion to dismiss Thus, given the foregoing, Lowe’s Motion should be
granted, without leave to amend by filing of Plaintiffs’ Proposed SAC. Furthermore,
Plaintiffs should be precluded from claiming attorneys’ fees in the next amended
complaint, as Plaintiffs represented in their Opposition that Plaintiffs would remove
the attorneys’ fees claims if allowed to amend. _S_e_e Opposition at 12:12-14.
IV. CONCLUSION

Based on the foregoing, Plaintiffs have not alleged a single viable cause of
action against Defendant Lowe’s, and Lowe’s respectfully requests that its Motion to
Dismiss pursuant to Fed. R. Civ. P. 12(b)(6) be granted in its entirety. In the
alternative, Defendant Lowe’s respectfully requests that the Court order Plaintiffs to
amend their FAC to provide a more definite statement as to their causes of action

pursuant to Fed. R. Civ. P. 12(e).

Dated: May 7, 2018 THARPE & HOWELL, LLP

/s/ Diana M Rivera

 

CHARLES D. MAY
DIANA M. RIVERA

Attome s for Defendant
ligng S HOME CENTERS,

_ 6 _
REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT TO F.R.C.P. lZ(B)(6)

 

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STATE OF CALIFORNIA, COUN'I`Y OF LOS ANGELES
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2.
3.

At the time of service I was at least 18 years of age and not a party to this legal action.
My business address is 15250 Ventura Boulevard, Ninth Floor, Sherrnan Oaks, CA 91403.

I served copies of the following documents (specify the exact title of each document served):

I served the documents listed above in item 3 on the following persons at the addresses listed:

Edward Misleh, Esq. Attomeys for Plaintiffs,

LAW OFFICES OF EDWARD MISLEH PAUL SINGH and ANDREA SINGH
615 10"‘ Street

Sacramento, CA 95814

(916) 443-1267: (916) 266-9403 - Fax

PROOF OF SERVICE

REPLY To PLAINTIFFS’ 0PPos1TIoN To DEFENDANT LowE’s
HOME CENTERS, LLc’s, MOTION To DISMISS PURSUANT To
F.R.C.P. 12(b)(6)

By personal service. I personally delivered the documents on the date shown
below to the persons at the addresses listed above in item 4. (1) For a party
represented by an attomey, delivery was made to the attorney or at the attorney's
office by leaving the documents in an envelope or package clearly labeled to
identify the attorney being served with a receptionist or an individual in charge of
the office. (2) For a party delivery was made to the party or by leaving the
documents at the party's residence between the hours of eight in the morning and six
in the evening with some person not less than 18 years of age.

X By United States mail. l enclosed the documents in a sealed envelope or package
addressed to the persons at the addresses in item 4 and (specijj) one):

(1) _ deposited the sealed envelope with the United States Postal Service, with
the postage fully prepaid on the date shown below, or

(2) L placed the envelope for collection and mailing on the date shown below,
following our ordinary business practices I am readily familiar with this
business's practice for collecting and processing correspondence for
mailing. On the same day that correspondence is placed for collection and
mailing, it is deposited in the ordinary course of business with the United
States Postal Service, in a sealed envelope with postage fully prepaid.

I arn a resident or employed in the county where the mailing occurred. The envelope
or package was placed in the mail at Sherman Oaks, Califomia.

By overnight delivery. l enclosed the documents on the date shown below in an
envelope or package provided by an overnight delivery carrier and addressed to the
person at the addresses in item 4. I placed the envelope or package for collection and
overnight delivery at an office or a regularly utilized drop box of the overnight delivery
carrier.

_ 7 _
REPLY TO PLAINTIFFS’ OPPOSITION TO DEFENDANT LOWE’S HOME CENTERS, LLC’S
MOTION TO DISMISS PURSUANT TO F.R.C.P. 12(B1(6)

 

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Case 2:18-cv-OO445-WBS-AC Document 15 Filed 05/07/18 Page 8 of 8

d. By messenger service. 1 served the documents on the date shown below by placing
them in an envelope or package addressed to the person on the addresses listed in
item 4 and providing them to a professional messenger service for service.

e. By fax transmission Based on an agreement of the parties to accept service by fax
transmission, l faxed the documents on the date shown below to the fax numbers of
the persons listed in item 4. No error was reported by the fax machine that 1 used. A
copy of the fax transmission, which I printed out, is attached to my file copy.

f. By e-mail or electronic transmission. Based on an agreement of the parties to
accept service by e-mail or electronic transmission, 1 caused the documents to be sent
on the date shown below to the e-mail addresses of the persons listed in item 4. l did
not receive within a reasonable time after the transmission any electronic message or
other indication that the transmission was unsuccessful.

6. l served the documents by the means described in item 5 on (date .' ****

l declare under penalty of perjury under the laws of the State of alifornia hat the foregoing is true
and correct. / </

 

 

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5/7/18 Beriha Munoz %M(' gm
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